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                          UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF IDAHO

                                           ) Case No. 1:22-cv-00236-DCN
UNITED STATES OF AMERICA,
                                           )
                      Plaintiff,           )
                        v.                 ) DECLARATION OF FREDRIC W. PRICE
                                           )
STATE OF IDAHO; IDAHO DEPARTMENT )
OF WATER RESOURCES, an agency of the       )
State of Idaho; and GARY SPACKMAN, in his )
official capacity as Director of the Idaho )
Department of Water Resources,             )
                      Defendants,          )
                                           )
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                                             )
                   v.
                                             )
                                             )
IDAHO HOUSE OF REPRESENTATIVES;
                                             )
MIKE MOYLE, in his official capacity as
                                             )
Majority Leader of the House; IDAHO
SENATE; and CHUCK WINDER, in his official )
                                             )
capacity as President Pro Tempore of the
                                             )
Senate,
                                             )
                      Intervenor-Defendants. )
_____________________________________ )




                          DECLARATION OF FREDRIC W. PRICE
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       I, Fredric W. Price, in accordance with the requirements of 28 U.S.C. § 1746, declare as

follows:

       1. My name is Fredric W. Price. I am an employee of the United States, Department of

Interior, Bureau of Land Management (“BLM”). The following statements are based upon my

personal knowledge. My present position is that of Water Rights Specialist for the BLM Idaho

State Office. My current responsibilities include being the program lead for water issues in

Idaho and a portion of Nevada for Idaho BLM and managing BLM’s participation in general

stream adjudications in Idaho and part of Nevada, including the Snake River Basin Adjudication

( “SRBA”) and adjudications in other river basins. I develop agency policy on water-related

issues and in other programs affected by water issues, such as the range management and lands

programs. I also review, interpret and analyze water right applications /claims. Based on this

review and analysis, I prepare opinions, recommendations, protests, objections, and responses for

administrative and adjudication matters.

       2. I have been employed by the BLM since 1982 and in my current position as Water

Rights Specialist at the BLM State Office in Boise, Idaho since August 1993. In my position, as

part of BLM’s due diligence in evaluating claims and objections within a general stream

adjudication or in evaluating applications and protests before IDWR in administrative

proceedings, I have reviewed tens of thousands of legal land descriptions focusing on Points of

Diversion (“POD”), Places of Use (“POU”), and the route of the conveyance means between the

POD and POU (“route”) that are contained in Applications for Water Permit, Applications for

Transfer, Applications for Temporary Permit, Notices of Instream Diversion, Notices of Claim,

IDWR Director’s Report Recommendations, Standard Forms 5 (i.e., settled elements of the water

right), Special Master’s Reports, and Partial Decrees. Since the early 1980s, I have developed



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extensive knowledge in interpreting maps, aerial photos and legal land descriptions, as well as in

the use various computer mapping software applications, also known as geographic information

systems (“GIS”), to create thousands of maps from many different data sets. I have filed or

assisted in the filing of approximately 10,000 BLM objections and resolved or assisted in the

resolution of approximately 96,000 objections filed against BLM. I have testified as a witness or

by affidavit numerous times before IDWR hearings officers, as well as in state and federal courts

regarding water rights issues and federal ownership of land. I have prepared affidavits,

declarations, reports, and maps as exhibits for use by BLM, the Department of the Interior’s

Solicitor's Office, and the Department of Justice.

       3. I have researched information about the U.S. stockwater rights that are the subject of

the four forfeiture petitions at issue in this proceeding and the stockwater rights of the movants

for intervention: Joyce Livestock Co., L U Ranching Co., Pickett Ranch & Sheep Co., or Idaho

Farm Bureau Federation (collectively “Movants”). I have reviewed the Idaho Department of

Water Resources (“IDWR”) show cause orders and the precipitating petitions asserting

forfeiture. IDWR’s four show cause orders pertain to a total of 68 United States stockwater

rights – three of the show cause orders partially granted three petitions that pertain to 57

stockwater rights across four BLM grazing allotments on federal lands managed by BLM (see

below), and the fourth show cause order partially granted a petition that pertains to 11 stockwater

rights on one grazing allotment on federal lands managed by the Forest Service. The petitions

affecting BLM stockwater rights were filed by Soulen Livestock Co., Soulen Grazing

Association, LLC, and Gill Family Ranches, LLC. The petition affecting Forest Service

stockwater rights was filed by Jaycob J. and Sheyenne A. Smith.




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       4.      Based on my review of petitions and show cause orders, only federally-owned

stockwater rights, located on federal lands within federal grazing allotments, are at issue in this

proceeding. No privately-held water rights are at issue. None of the Movants filed petitions

against the BLM water rights at issue in this proceeding. The IDWR show cause orders involve

the following BLM grazing allotments: Crane Creek (No. ID00361); Paddock Valley (No.

ID00370); Butcher Bar (No. ID36138); and China Creek (ID36191). I summarize the IDWR

show cause orders below:

               Order P-OSC-2021-001 (issued 04/25/2022, amended 05/13/2022)
                      Petition filed by: Soulen Livestock Co. and Soulen Grazing Assoc.
                      BLM Allotment: Crane Creek (No. ID00361)
                      Water Rights:      22 BLM water rights

               Order P-OSC-2021-002 (issued 04/25/2022, amended 05/13/2022)
                      Petition filed by: Soulen Livestock Co. and Soulen Grazing Assoc.
                      BLM Allotment: Paddock Valley (No. ID00370)
                      Water Rights:      30 BLM water rights

               Order P-OSC-2021-004 (issued 04/25/2022, amended 05/13/2022)
                      Petition filed by: Gill Family Ranches, LLC
                      BLM Allotment: Butcher Bar (No. ID36138) and China Creek (ID36191)
                      Water Rights:      2 BLM water rights in Butcher Bar and 3 BLM water
                                         rights in China Creek

               Order P-OSC2022-001 (issued 06/22/2022)
                      Petition filed by: Jaycob J. and Sheyenne A. Smith
                      Forest Service Allotment: Fourth of July Creek (No. 70213)
                      Water Rights: 11 Forest Service water rights

       5.      On October 4, 2022, I accessed BLM’s Rangeland Administrative System

(“RAS”) (https://reports.blm.gov/reports.cfm?application=RAS) to run Allotment Master

Reports to determine who the authorized grazing permittees are in the BLM allotments. Based

on my review of BLM grazing administration records, none of the Movants are authorized to

graze livestock in the grazing allotments subject to this proceeding. I summarize the authorized

livestock operators below:



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               Crane Creek Allotment (ID00361):
                  • Soulen Grazing Association, LLC
                  • David Maddox
                  • Jerome & Jill Grandi
                  • Sutton Ranches, Inc.

               Paddock Valley Allotment (ID00370):
                  • Soulen Grazing Association, LLC

               Butcher Bar Allotment (ID36138):
                  • Gill Family Ranches, LLC

               China Creek Allotment (ID36191):
                  • Gill Family Ranches, LLC


       6.      I have determined the location of the Movants’ water rights relative to the BLM

water rights subject to this proceeding. Based on my research of IDWR SRBA records (see

below), the Movants (except for Idaho Farm Bureau Federation) do own private water rights;

however, each of those rights has a POU located many miles from the federal grazing allotments

that are here relevant. None of Movants hold water rights or interests in water rights near the

POU for any of the subject BLM water rights or in the BLM grazing allotments where those

POUs are located (see calculated distances below).

       In order to determine how far away the water right interests are between the subject BLM

water rights and the Movants’ water rights, I downloaded a graphical dataset (i.e. GIS shapefiles)

of water right places of use from IDWR’s public website (https://data-

idwr.hub.arcgis.com/documents/place-of-use-water-right/about). Each graphical record in this

shapefile depicts a polygon representing the POU for each purpose of use under each water right,

and each record contains a number of data fields associated with it that can be viewed in the

attribute table. One of the data fields available is “owner;” therefore, I was able to perform a

query of the “owner” data field for iterations of each Movant’s organization name and export this



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query to a new graphical dataset so that I could display just the water rights of the Movants.

Based on my search of IDWR’s data systems, the Idaho Farm Bureau Federation is not an owner

of any water rights in Idaho. I also queried out the BLM and Forest Service water rights at issue

in this proceeding from the same dataset.

       The computer mapping program I use is called Arc Map by ESRI and it has a tool called

“Measure” where I can measure the distance between two points within my map. I used the tool

to measure the distance in miles between the closest Movant water right POU and the closest

BLM water right POU within each grazing allotment at issue in this proceeding. The results of

these measurements are summarized in the table below and on the map attached hereto as

Exhibit 1. I prepared Exhibit 1 and it is a true and correct representation of the information

described above.

                                                                            4th of
                                   Crane    Paddock     China    Butcher
                                                                             July
                                   Creek     Valley     Creek      Bar
                                                                            Creek
                Joyce Livestock     82 mi      66 mi    168 mi    168 mi    209 mi
                L U Ranching        88 mi      74 mi    176 mi    176 mi    223 mi
                Pickett Ranch      184 mi     167 mi    241 mi    242 mi    206 mi


       7.      All 57 BLM stockwater rights subject to the IDWR orders at issue in this

litigation were decreed to BLM by the Idaho Fifth District Court in the SRBA, which is a

comprehensive water rights adjudication undertaken pursuant to the McCarran Amendment, 43

USC § 666. It is my understanding that the SRBA Court decreed over 158,000 water rights.

From my review of the Final Unified Decree entered in the SRBA on August 26, 2014, the

United States received 27,427 partial decrees through 17 different federal agencies. BLM

received 16,939 partial decrees and the Forest Service received 10,274 partial decrees. From my

review of BLM records and based on my personal knowledge, the overwhelming majority of



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BLM’s 16,939 partial decrees in the SRBA were for stockwatering and wildlife purposes and can

be categorized by the following estimates: approximately 2,725 for diverted stockwater (i.e.,

diverted through a physical structure/facility into tanks, troughs, ponds, etc.); approximately

6,485 for instream stockwater; approximately 6,500 for stockwater under federal reserved rights

(mostly based on the federal reserve known as Public Water Reserve 107); and approximately

1,212 for other purposes. Most of BLM’s water rights that included a stockwater purpose of use

(approximately 15,710 total with 9,210 based on state law and 6,500 based on federal law) are

for relatively small but important quantities of water due to the aridness of the lands and climate.

       As a result of the SRBA, the United States holds thousands of water rights located on

federally-owned land in Idaho that have been decreed or licensed by the State and its courts for

use by livestock on federal grazing allotments. These stockwater rights provide water that is

generally available for consumptive use by any livestock managed by the holders of permits to

graze livestock on the federal lands on which the water rights are located.

       8. In Idaho, BLM manages 2,113 allotments and 1,421 authorized grazing permittees.

Leading up to the SRBA, BLM held meetings with members of the livestock industry to talk

about filing stockwater claims in the adjudication. Based on my review of and familiarity with

BLM records, BLM decided it would carry the burden of pursuing stockwater rights on federal

land, among other reasons, because BLM could secure appropriations and had the expertise to

successfully undertake this massive endeavor. As a consequence, many BLM grazing permittees

did not file claims for stockwater on the federal grazing allotments and relied on the BLM to

secure these stockwater rights to cover the water use by all permitted livestock. As an example,

a true and correct copy of the Bauscher Ranch, Inc. letter dated January 23, 2002, is attached

hereto as part of Exhibit 2. The letter stated, “No one had any quarrel with the water rights




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being in the name of the land owner, including the federal government.” In my experience

resolving thousands of objections, many of BLM’s objections to claims filed by grazing

permittees (and vice versa) were resolved by the grazing permittee withdrawing their claims

once they realized BLM had already filed claims to those water sources.

       9. Beginning in 1998, the members of the Federal Stockwater Group (“FSG”) eventually

objected to a total of 5,605 BLM claims across Idaho, including many of the BLM water rights at

issue in this proceeding (specifically 39 of 57). The FSG was an informal association of federal

land grazing permittees who claimed water rights on federal lands and filed objections to federal

stockwater claims throughout the SRBA.

       During the pendency of the FSG litigation, BLM began meeting with affected grazing

permittees outside of federal grazing allotments on which the FSG members held grazing

permits. Affected permittees elsewhere had demanded the FSG withdraw 493 objections to

BLM claims within their grazing allotments because they were relying on BLM’s claims. True

and correct copies of letters in support of BLM water rights are attached as Exhibit 2.

Subsequently, those 493 objections were withdrawn. On August 29, 2002, the FSG ultimately

settled with the United States on the remainder of its objections by agreeing to the decree of

BLM and Forest Service water rights by the court. The FSG agreement resolved the objections

filed by 45 private parties, including Pickett Ranch & Sheep Co. On March 11, 2003, the State

Attorney General (acting in its sovereign capacity) also settled its objections. Most of the

thousands of decreed stockwater rights now held by the BLM were the subject of objections by

the State of Idaho or private parties that were eventually resolved either through settlement

agreements (of one form or another), withdrawal of objections, or both.




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       10. I have researched the SRBA litigation history of all 57 BLM water rights subject to

this proceeding and was able to determine that every single BLM water right was contested

before settlement agreements were filed with the court and decrees were issued to BLM by the

SRBA Court. All 57 BLM water rights were objected to by either the State of Idaho, or federal

grazing permittees, or both. All objections to the 57 BLM water rights were resolved, and all 57

BLM water rights were decreed by the SRBA Court.

              a. On September 17, 1999, the State of Idaho filed objections to 56 of the 57

       BLM water rights subject to this proceeding.

              b. On September 17, 1999, one of the attorneys of record for Movants (Norman

       Semanko) (herein “Movants’ Counsel”) filed objections to 39 of the 57 BLM water rights

       subject to this proceeding (including the one subcase not objected to by the State of

       Idaho) on behalf of 11 federal grazing permittees, including Pickett Ranch & Sheep Co.

       and Joyce Livestock Co.

              c. On August 29, 2002, a Stipulation and Joint Motion for Order Approving

       Stipulation providing for the decree of thousands of federal and private water stockwater

       rights throughout southern and central Idaho was filed with the court by the United States

       and 45 members of the FSG, all represented by Movants’ Counsel. A true and correct

       copy of this Stipulation is attached as Exhibit 3.

              d. On August 29, 2002, Movants’ Counsel filed a Notice of Withdrawal of

       Objections and Responses on behalf of Bruce Bedke, Jared Bedke, Joyce Livestock Co.,

       and Jerry Hoagland.

              e. On August 29, 2002, Movants’ Counsel filed a Notice of Withdrawal of

       Objections and Responses on behalf of 20 members of the FSG.




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            f. On March 11, 2003, a Stipulation to Resolve Objections was filed with the

     SRBA Court to resolve the State of Idaho objections to BLM claims that included all

     BLM claims subject to this proceeding in Crane Creek, Butcher Bar, and China Creek

     Allotments, and the BLM claims within Basin 67 in the Paddock Valley Allotment.

            g. On July 1, 1999, a Stipulation to Resolve Subcases was filed with the SRBA

     Court to resolve State of Idaho objections to BLM claims within Basin 65 in the Paddock

     Valley Allotment.

            h. On May 6, 2004, the SRBA Court issued partial decrees to BLM for water

     rights that include those in the Crane Creek, Butcher Bar, and China Creek Allotments at

     issue here. On June 3, 2004, the SRBA Court issued partial decrees to BLM for water

     rights that include those in the Paddock Valley Allotment at issue here.




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